                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR 07-1014
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 LINDA SUE KOOPMAN,                                RECOMMENDATION
                                               CONCERNING DEFENDANT’S
                Defendant.                            GUILTY PLEA
                                 ____________________


                       I. INTRODUCTION AND BACKGROUND
        On November 28, 2007, a one-count Second Superseding Indictment was returned
against the defendant Linda Sue Koopman. On November 29, 2007, the defendant
appeared before United States Magistrate Judge Jon S. Scoles and entered a plea of guilty
to Count 4 of the Second Superseding Indictment. On November 29, 2007, Judge Scoles
filed a Report and Recommendation in which he recommended that defendant’s guilty plea
be accepted. No objections to Judge Scoles' Report and Recommendation were filed. The
court, therefore, undertakes the necessary review of Judge Scoles' recommendation to
accept defendant’s plea in this case.


                                        II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the

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              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of November 29,
2007 and accepts defendant’s plea of guilty in this case to Count 4 of the Second
Superseding Indictment.
       IT IS SO ORDERED.
       DATED this 14th day of December, 2007.




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